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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY

                                                               2:09-cv-04414-SDW-MCA


     IN RE: ZIMMER DUROM HIP CUP
     PRODUCTS LIABILITY LITIGATION                                     MDL-2158




                                      This Document Relates to:

                Christine Brice v. Zimmer Holdings, Inc., et al; Case No. 2:13-cv-02889
                Mark Doneson, et al v. Zimmer Holdings, Inc.; Case No. 2:11-cv-05472
                Charles Foster v. Zimmer Holdings, Inc., et al; Case No. 2:13-cv-02861
                Barbara Hanks v. Zimmer Holdings, Inc., et al; Case No. 2:13-cv-02887

           ORDER GRANTING ZIMMER, INC. AND ZIMMER HOLDINGS, INC.’S
                     MOTION FOR ORDER TO SHOW CAUSE

           Before this Court is a Motion for Order to Show Cause filed on February 15, 2019, by the

   defendants Zimmer, Inc., and Zimmer Holdings, Inc. (collectively “Zimmer”), regarding

   plaintiffs, Christine Brice, Mark Doneson, Charles Foster, and Barbara Hanks (together,

   “Plaintiffs”).

           The Court having reviewed the Motion finds that Plaintiffs shall have until

   ____________, 2019, to present evidence that they were implanted with a Durom Cup and to

   show cause why each case should not be dismissed without prejudice.

           SO ORDERED.

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                                                Susan D. Wigenton, U.S.D.J.




   US.122004141.01
